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From: KCassidy@clarku.edu <KCassidy@clarku.edu>
            March     20195:25:53 PM

Subject: University Conduct Board- Outcome Notification



March 29, 2019




Clark University
Worcester, MA 01610

Dear

I am writing to inform you of the decision of the University Conduct Board with regard to the
hearing held on March 29, 2019 regarding the letter that you received on February 28,
2019. This letter serves as a written confirmation of the decision made by the University
Administrative Conduct Board.

At your hearing, the Hearing Board considered your responsibility in violating the following
provisions of the Code of Student Conduct as outlined in the Student Handbook:

Non-compliance with University Official - Students are required to comply with reasonable
directives or requests from members of the University student staff or University Officials
acting in the performance of their duties. Non-compliance also includes all acts of dishonesty,
including but not limited to, personal misrepresentation, and knowingly furnishing false
information to the University.

In making its decision, the board considered all relevant materials, including any and all
incident reports, your statements, or other materials as applicable.

As a result of the information presented to the board, answers to the questions asked by the
board, as well as the statements provide by yourself, the board has found you responsible for
violating the Non-Compliance with a University Official provision(s).

After careful review of the records and statements regarding the refusal to complete the
sanctions assigned to you from a previous conduct incident, the following additional sanctions
have been imposed:

1. Reflection Paper
Complete by: Friday, March 29, 2019
You are required to write a paper reflecting on your what your values are and how these came
to be your values. This paper must be no less than 750 words in length (typed, double-spaced)
and must be submitted by email to Kate Cassidy (kcassidy@clarku.edu) by no later than April
26, 2019 at 5PM.

This paper should address the following questions/issues:
A. Reflect on your values system: What experiences have shaped your values? Provide
specific examples. What purpose do those values serve in your life?
B. How do these values play out in your day-to-day life?
C. How do you know that people recognize what your values are? How do people see your
values as an extension of you as a person?
E. What is the most important thing you have learned from this experience in regards to your
values system?
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Be advised that this paper may not serve to justify your own actions or evaluate the actions of
others. The paper should utilize appropriate language, grammar, and spelling.

2. Hold on Student Account

A hold will be placed on your student account until such a time that all outstanding sanctions
from the Findings Letter received on November 21, 2018 have been completed. Please note
that a hold on your student account will prohibit you from signing up for classes.

3. Outstanding Sanction Completion

Additionally, you will be required to complete the first assignment of your educational sanction
as determined and written by the Title IX and Assistant Dean of Wellness Education, Lynn
Levey, in the Findings Letter you received on November 21,2018. Your new deadline for
that educational sanction is 5PM on April 12, 2019.




You are permitted to file an appeal based on new evidence or a breach of process to Francy
Magee, Dean of Students. That appeal must be filed within three (3) business days from
March 29, 2019, by 5PM. More information regarding appeals can be found in the Student
Handbook.

                    you for having an honest and open conversation with the board. I do hope
         experience has been a learning experience, and that you will reflect on these actions
moving forward in order to make better decisions. Please note that further violations of Clark
University policies may result in loss of housing, removal of privileges, or separation from the
University.

Please do not hesitate to reach out with any questions you may have.




Best,


Kate Cassidy
Director of Campus Life for Residential Life & Housing
KCassidy@clarku.edu
508-793-7453
